The Pantasote Leather Co., Now Known as The Pantasote Co., Petitioner, v. Commissioner of Internal Revenue, RespondentPantasote Leather Co. v. CommissionerDocket Nos. 12912, 15865United States Tax Court12 T.C. 635; 1949 U.S. Tax Ct. LEXIS 220; April 25, 1949, Promulgated *220 Decisions will be entered under Rule 50.  Petitioner, a manufacturer of plastic-coated materials, engaged in research and development of particular processes and products, commencing in 1931, primarily to meet needs of the armed forces, derived a class of income falling within the purview of section 721 (a) (2) (C) of the code.  Held, a portion of such income resulted from improvement in business, and the remainder is attributable to other years under section 721 (b), and is allocable to the years during which this research and development program was in operation.  *221 Thomas N. Tarleau, Esq., and Sandow Holman, Esq., for the petitioner.Francis X. Gallagher, Esq., for the respondent.  Kern, Judge.  KERN *636  In these consolidated proceedings respondent determined deficiencies in income and excess profits taxes for the calendar year 1942, as follows:Docket No.TaxDeficiency12912Excess profits tax$ 127,669.6715865Income tax1,336.35In Docket No. 12912 there is also involved petitioner's claim for refund under section 721 of the Internal Revenue Code in the aggregate amount of $ 8,412.09 for the calendar year 1941.  See sec. 732 (a), I. R. C.The sole issue presented is whether petitioner derived net abnormal income during the taxable years 1941 and 1942, within the class described in Internal Revenue Code section 721 (a) (2) (C), some of which can be said to be attributable to prior years, so as to entitle petitioner to the relief accorded by that section.  The income tax deficiency presents no additional question.  The decision on the issue raised will permit the parties to make the necessary computations in that docket.Some of the facts have been stipulated.FINDINGS OF FACT.The stipulated facts are hereby*222  found accordingly, and they are incorporated herein by this reference.Petitioner is a New Jersey corporation, having its principal office at Passaic, New Jersey.  Its returns for the taxable years involved, prepared on a calendar year accrual basis, were filed with the collector of internal revenue for the fifth collection district of New Jersey.  Claims for refund of excess profits taxes for the year 1941, based on section 721 of the code, were filed with the same collector on March 16, 1943, and March 15, 1944.Since its incorporation in 1891 petitioner has been engaged in the business of manufacturing various types of coated fabrics, commonly classified as artificial leathers, which have been used for upholstery fabrics, railroad car curtains, and similar purposes.In 1931 petitioner commenced a program of research and development with two new products, designated by it as Pantex and C. C. Textasote.  Later, in 1937, the petitioner started extensive laboratory experiments with a calender-manufacturing process which subsequently *637  was utilized in the production of Pantex and other types of thermo-plastic resin-coated materials.  Each of these research programs extended *223  over a period of more than 12 months.Its research with Pantex was undertaken after the Navy Department approached petitioner, seeking a material that could be used for the manufacture of parachute bags.  It was also thought that the final product might be useful as a cloth in making garments for aviators, by using the Pantex coating as a coating on poplins and shelter tent duck.  Among the characteristics desired were waterproofness, flexibility at low temperatures, and non-self-adhesion.  Development of this product was commenced with a 12-ounce duck fabric as a base, to which there were applied two thermo-plastic resin coatings from solution.  These coatings were a secret Pantasote gum compound, applied from a conventional coating machine, using a technique described as a "spreader-sheeter" process.Continuation of the laboratory experiments with the coating compound and the manufacturing process used in Pantex was required because of the failure to achieve uniform waterproofing in a fabric which, at the same time, was designed to be flexible and nonadhesive.  These essential characteristics of the product could not be easily reconciled, since the greater the saturation of the fabric*224  with the waterproofing gum compound, the greater became the loss of flexibility.  Problems also arose in the attempted production of colored fabrics, as requested by the Navy Department.  These problems were primarily that the color would rub off and that there was considerable "strike-through," which is the saturation of the cloth with the coloring coating so that it shows through on the back of the material.  Attempts to remedy some of the problems by combining Pantex with a top coating of petitioner's Textasote, a different substance from its C. C. Textasote, proved unsuccessful.In June 1934 petitioner completed its first commercial production of gray Pantex, the total production amounting to 53 yards.  It also succeeded in developing a green Pantex at the same time.  In June 1935 a substantial quantity of Pantex was produced, but it was found that there was a lack of uniformity in the final product.  Its quality was also affected by the humidity of the weather prevailing at the time it was produced.  Petitioner's manufacturing process by the so-called "spreader-sheeter" method was largely responsible for the lack of uniformity in the product.Experimentation continued in an effort*225  to meet these difficulties, and, as new ideas and uses were suggested by the Navy Department and the War Department, petitioner sought to produce a fabric to meet those specifications.In 1940 a mildew-proof Pantex was sought by the United States Army to cover instrument cases, and petitioner finally was able to *638  develop a satisfactory Pantex for this use, which led to the production of 118,000 yards of this product in 1941.At all times petitioner was confronted with a serious problem in its process of manufacturing Pantex by "spreader-sheeter" machines.  This manufacturing process proved to be extremely hazardous in that the static charges accumulated by these machines produced numerous fires.  Experiments were conducted with the "spreader-sheeter" manufacturing process until 1942, when this method was definitely and finally abandoned in favor of the calender-manufacturing process.In 1937 laboratory experiments were commenced with the calender process for applying thermo-plastic resin coatings to fabrics. These experiments were continued until 1942, when the stage of technical development was reached which enabled petitioner to utilize the process in the manufacture of*226  Pantex.  The application of the calender process to the manufacture of Pantex greatly improved the quality of that product and the capacity for production.  As a manufacturing process, the calender method had many points of superiority over the "spreader-sheeter" method.  The thermo-plastic resin coating could be applied in any thickness in a single coating operation rather than by the previous two-coat method; the calender produced greater adhesion between the resin and the fabric and thus prevented "peeling"; fire hazards were completely eliminated; absolute uniformity of quality in the finished product was assured; and productive capacity was greatly increased thereby.The development of petitioner's calender-manufacturing process supplied it with the technique and "know-how" for manufacturing a variety of other thermo-plastic resin fabrics, such as vinyl-coated upholstery materials and vinyl film fabrics used for raincoat and shower curtain materials.  These new products could not be manufactured during the taxable years in issue because the vinyl resins could be secured only on priority orders for Government work.The resin-coated fabrics and films which could have been manufactured*227  by the calender process would have been superior to the rubber and pyroxylin-coated fabrics then in use.  The process lent itself to the production of more versatile materials with many new uses.  But for the existence of the war during the taxable years, which froze the supply of raw materials, there would have been a large demand for such thermo-plastic resin-coated materials.As with its developmental work with Pantex, petitioner's research and experiments with the product C. C. Textasote commenced in 1931, instituted by requests of the Navy Department for a pyroxylin-coated fabric that would be impervious to water, gasoline, and oil.  It was intended as coverings for aircraft, particularly as coverings for engines *639  and cockpits, although it could have other outdoor uses.  Petitioner's ordinary Textasote would not meet these requirements.Many years of experimentation were required to achieve satisfactory waterproofness and gasoline resistance.  At the same time numerous objectional features inherent in the pyroxylin coating, such as "tackiness" * and inflammability, became evident and a long period of experimentation was necessary to eliminate these factors.  Other experiments*228  were conducted with various types of fabrics to replace the basic duck material, and with formulation and pigmentation problems.By 1939 the basic development of the C. C. Textasote product was completed.  The material met all outdoor covering requirements and the technique for producing it in a variety of different fabrics had been achieved.  Following 1939, the only experimentation undertaken on this product was to overcome shortages in essential ingredients and to develop new color combinations and special flame-resistant materials, none of which were basic developments.Not only the Navy, but other branches of the armed forces were interested in C. C. Textasote.In 1937 the Army issued specifications for a Textasote fabric, and petitioner's product was found acceptable.  In 1940 a special C. C. Textasote was developed for the Marine Corps; and, having been found acceptable, large quantities were thereafter supplied to the Corps.  In 1941 special C. C. Textasote*229  products were purchased for both Army and Navy use.  In the same year a flameproof product was manufactured that found considerable use in the construction of Flying Fortresses.Both Pantex and C. C. Textasote were sold on a competitive basis with pyroxylin-coated materials, and they are considered as belonging in that field.Four companies in addition to the petitioner have been on the Navy Department's approved list as suppliers of parachute pack fabric, and 10 companies in addition to petitioner have been approved as suppliers of waterproof cotton duck.Substantially all of petitioner's research and development incident to the production of Pantex and C. C. Textasote, up to and including the taxable years involved, were devoted to the creation of products satisfactory for use and application by the armed forces of the United States, although the products developed and the processing evolved as a result of petitioner's research had wider application.In the case of Pantex, petitioner had no other customers than the armed forces; in the case of C. C. Textasote, there were a limited number of sales to commercial users, including sales for awnings at *640  the New York World's *230  Fair in 1939, and earlier sales for coverings in the Chicago Cubs ball park.Statistics compiled by the United States Department of Commerce relative to the shipments and the value of such shipments of "pyroxylin-coated textiles" reveal an increase in both quantity shipped and value thereof for the years 1941 and 1942 over the average for the four-year period, 1936-1939, as follows:Value ofLineal yardsYearshipmentsIndexshippedIndex1936$ 20,889,11257,721,000193722,663,09461,631,000193817,478,04949,625,000193921,033,27961,238,00082,063,534230,215,000Base period average20,515,88357,553,750194021,049,6831.0360,637,0001.05194132,870,6651.6088,058,0001.53194227,935,9121.3665,631,0001.14194324,763,0951.2159,774,3661.04Petitioner's sales of Pantex and C. C. Textasote and gross profit thereon for the years ended December 31, 1937, through 1942 were as follows:193719381939Pantex:Net sales$ 7,587.07$ 5,300.99$ 2,243,85Cost of goods sold4,318.773,136.021,170.72Gross profit3,268.302,164.971,073.13C. C. Textasote:Net sales13,839.0916,907.0813,827.24Cost of goods sold9,339.7911,974.3611,362.15Gross profit4,499.304,932.722,465.09*231 194019411942Pantex:Net sales$ 31,313.41$ 92,996.76$ 287,777.19Cost of goods sold17,088.7547,831.68180,385.04Gross profit14,224.6645,165.08107,392.15C. C. Textasote:Net sales99,032.40332,923.29966,219.93Cost of goods sold78,564.27250,393.55743,531.33Gross profit20,468.1382,529.74222,688.60An analysis of sales of petitioner's principal products from 1932 through 1942 reflects the following:193219331934Curtains and Pantasote$ 182,020.73$ 165,880.89$ 284,823.78Russialoid103,290.24112,662.56195,507.18Miscellaneous7,430.036,427.169,336.45Pantex7,718.41205.72Panmack2,826.231,116.233,511.68Syntex4,941.426,376.095,382.45C. C. TextasoteDritexLustraloidAquasoteTextaloidComposite clothNovasoteTotal300,508.65300,181.34498,767.2619351936Curtains and Pantasote$ 283,035.65$ 396,960.10Russialoid238,719.80265,425.01Miscellaneous16,334.6517,647.76Pantex7,778.469,178.40Panmack2,903.306,176.37Syntex7,906.8611,150.33C. C. Textasote13,899.72Dritex505.57LustraloidAquasoteTextaloidComposite clothNovasoteTotal556,678.22720,943.26*232 *641 193719381939Curtains and Pantasote$ 477,533.05$ 235,037.09$ 318,776.32Russialoid259,353.41186,593.42177,993.27Miscellaneous16,716.7011,607.537,386.10Pantex7,587.075,300.992,243.85Panmack6,781.674,315.705,553.62Syntex7,404.745,178.935,916.77C. C. Textasote13,839.0916,907.0813,827.24Dritex310.84273.88935.87Lustraloid2,114.684,536.54Aquasote2,215.00Textaloid1,348.01Composite clothNovasoteTotal789,526.57467,359.30540,732.59194019411942Curtains and Pantasote$ 307,494.32$ 463,185.53$ 377,361.69Russialoid133,852.11166,876.00116,317.65Miscellaneous6,995.876,925.7330,939.09Pantex31,313.4192,996.76287,777.19Panmack3,632.5013,231.342,885.10Syntex5,420.8214,787.764,237.63C. C. Textasote99,032.40332,923.29966,219.93Dritex2,386.194,031.2028,806.23Lustraloid4,865.794,892.7123.40Aquasote5,506.204,969.621,357.79Textaloid2,499.884,700.523,104.46Composite cloth23,082.6533,758.5927,090.76Novasote124.748,067.491,171.12Total626,206.881,151,346.541,847,292.04Petitioner's comparative*233  profit and loss statements for the years ended December 31, 1937, through 1942, are as follows:193719381939Net sales$ 776,776.93$ 459,624.50&nbsp;$ 530,752.99Cost of goods sold580,545.90355,960.21&nbsp;387,621.33Gross profit on sales196,231.03103,664.29&nbsp;143,131.66Selling and administrativeexpenses159,681.27117,311.55&nbsp;123,294.0036,549.76(13,647.26)19,837.66Other income (net)11,704.565,854.39&nbsp;7,589.4248,254.32(7,792.87)27,427.08Provision for contingenciesand post war adjustments48,254.32(7,792.87)27,427.08194019411942Net sales$ 615,447.76$ 1,131,821.29&nbsp;$ 1,815,680.33Cost of goods sold449,392.56792.440.31&nbsp;1,410,606.42Gross profit on sales166,055.20339,380.98&nbsp;405,073.91Selling and administrativeexpenses137,237.81180,524.89&nbsp;223,965.9228,817.39158,856.09&nbsp;181,107.99Other income (net)8,899.5816,566.81&nbsp;27,508.6037,716.97175,422.90&nbsp;208,616.59Provision for contingenciesand post war adjustments70,000.0037,716.97175,422.90138,616.59*642  Petitioner's system of accounting prior to the taxable years did not provide for a detailed costing*234  of experimental expenses.  By a reconstruction of its experimental costs on Pantex and C. C. Textasote based upon the number of yards of experimental material produced in each year, petitioner has shown that the annual amounts of such expenses were as follows:C. C.YearPantexTextasoteTotal1931$ 720.51$ 29.91$ 750.421932153.30104.67257.971933475.23354.67829.90193491.9891.981935229.9589.72319.671936433.62433.62193760.32319.25379.571938233.28419.18652.46193980.7280.721940414.90414.90194127.6627.661942155.13155.13Total4,394.00During 1941 and 1942 petitioner derived abnormal income from the sales of Pantex and C. C. Textasote, and had net abnormal income in the aggregate amounts, all as follows:AbnormalExcess overNet abnormalYearincome125% averageincome1941$ 127,694.82$ 111,102.22$ 52,004.291942330,080.75276,010.90123,404.12Fifty per cent of the net abnormal income for 1941 and 75 per cent of the net abnormal income for 1942 resulted from the improvement in business conditions, as reflected in a substantial increase in the demand*235  for petitioner's products due to the war, and from other factors making such percentages of net abnormal income for those years not attributable to prior years.The remainder is attributable to the years 1931 through 1942, and is allocable to those years in the same proportion that the respective annual amount of experimental costs bears to the total of such costs for all of those years.  Such remainder amounts so allocated do not include items of net abnormal income which are the result of high prices, low operating costs, or increased physical volume of sales due to increased demand for or decreased competition in the type of product sold by petitioner.OPINION.Section 721 of the Internal Revenue Code1*237  sought to provide relief to a taxpayer which received an abnormal amount or *643  type of income in one year by permitting it to allocate such abnormal income over the years to which it was properly attributable, 2 and thereby decrease the amount of excess profits tax to which it otherwise would have been subjected.  The present controversy seems to us to be limited by respondent's brief 3*238  to the narrow issue of whether or not all or some part of petitioner's net abnormal*236  income was properly attributable to years other than the ones in which it was earned and received.  4*239 *644   Respondent apparently has recognized that petitioner did have abnormal income and net abnormal income as defined in the code in both 1941 and 1942.  5Respondent assails petitioner's claim for relief under section 721 on the ground that such income arose solely out of an increased demand for petitioner's two products under discussion -- Pantex and C. C. Textasote -- by the armed forces and, consequently, no part of it was attributable to other years, under the statute and his regulations.Petitioner does not dispute respondent's premise that*240  items of abnormal income are not attributable to other years to the extent that they have resulted from high prices, low operating costs, or increased volume of sales due to increased demand for the products.  6To meet this attack, petitioner has introduced data reflecting the general improvement in business conditions of the industry of which*241  it is a part.  By indices derived from these data it seeks to show us the portion of its net abnormal income due to the improvement in such business, and contends that the remainder of its net abnormal income is attributable to other years and is allocable over the years during *645  which its research and development program was in operation.  The technique is not unlike that followed in the Knight case, supra; Rochester Button Co., 7 T. C. 529; and Ramsey Accessories Mfg. Corporation, 10 T.C. 482"&gt;10 T. C. 482.In order to support the reasonableness of these indices, petitioner has further attempted to demonstrate that actually no part of its abnormal income in the years before us can be said to have resulted from any of the conditions recited in the regulations which preclude attribution to other years.  The argument advanced is that the demand in a normal peace time market for the products which it could have manufactured under a newly developed process would have been greater than that indicated by its sales of Pantex and C. C. Textasote but for the fact that the raw materials necessary to make these products were not available, *242  due to the advent of the war.  Petitioner seems to misconstrue a dictum in Soabar Co., 7 T. C. 89, 97, as supporting its thesis.  It is there stated:A case could be imagined in which the business normally to be expected from new patents or processes was still in the development stage in 1940 and 1941, so that a part of the increased profits of those years was not due to an increased demand resulting from war stimulated business, but was merely the realization in those years of growth (increase in profits) that would have occurred under normal conditions if there had been no war.  * * *Petitioner is not seeking to prove what demand would have been a "normal" market for the particular products here under discussion, but rather what the demand might have been for some other types of new products that it might have been able to develop as a result of perfecting a new process if necessary raw materials were available.  Much must be speculated in resolving issues under section 721, but not that much, we believe.  Even if there were some merit in this contention of petitioner by way of supporting the reasonableness and usefulness of the index figures it has*243  offered, the testimony upon which the argument is predicated is at best vague and unsatisfactory, and hardly supports petitioner's conclusion that in a peace time economy its income would have been as large as that realized through its sales of products for war end uses.  7*244 *646   That the actual income petitioner derived in the two years before us was, to a great extent, the result of increased demand and improvement in business accentuated by the war economy becomes at once apparent from the figures representing petitioner's sales of the products herein considered.  For example, sales of C. C. Textasote more than tripled from 1940 to 1941, and approached that increase from 1941 to 1942.  And it should further be observed that the basic development of this product was completed by 1939.  8 The increases in the sales of Pantex were even greater, but as to that product basic development continued into the years before us.  It was increases in income caused by the impact of the war upon the nation's economy that the excess profits tax sought to reach, and abnormality in income so caused "would not suffice to justify special relief." Lindstedt-Hoffman Co., 11 T. C. 584; Soabar Co., supra.*245 While we can not agree with petitioner that as large a part of its abnormal income is attributable to other years, as it seeks to have us find, we can not agree with respondent that all of it resulted "solely 9 from an increase in business due to the enlarged demands of the Armed Forces." To the extent that respondent's argument is directed to precluding relief to petitioner merely because the bulk of its production during the years in question was sold for use by the armed forces, we consider that it goes too far.  The statute does not permit of such construction and, in fact, the legislative intent appears to have been otherwise.  See 86 Cong. Rec. 11250.  Moreover, our decision in Eitel-McCullough, Inc., 9 T. C. 1132, upon which respondent strongly relies, recognized that despite the fact that "the bulk of petitioner's production * * * was for the Army and Navy * * *.  Undoubtedly, some of petitioner's income * * * was the product of research and development * * *." There, relief was denied because of a complete absence of proof, among other reasons.  We said, in part (p. 1147):* * * There is no proof, however, from which we can formulate an approximation*246  or even a guess of the amount properly attributable to the vital factors.  Thus it is, there is no way on the record made by which to determine in either the *647  base period or the tax years the amount of income attributable to research and development and the amount attributable to manufacturing under improved business conditions, with the consequent inability to determine the amount of petitioner's abnormal income, if any.Although the "record leaves something to be desired," Rochester Button Co., supra, p. 552, we do not find that complete failure to meet the onerous burden placed upon taxpayers under section 721 that prevailed in the Eitel-McCullough case, supra.  See Ramsey Accessories Mfg. Corporation, supra;Lindstedt-Hoffman Co., supra.Unlike our conclusion in such cases*247  as Geyer, Cornell &amp; Newell, Inc., 6 T. C. 96, and Soabar Co., supra, p. 97, we do not believe that in the instant case all of petitioner's "net abnormal income of the tax years was due [solely] to improved business conditions in the tax years which resulted in a greater demand for the petitioner's products in those years." We are convinced that some portion was the result of petitioner's long and intensive research program, and, therefore, is attributable to those years in which the program was being carried on.We are now confronted with the difficult task 10 of determining what part of petitioner's net abnormal income is attributable to the years during which the products were developed.  Undoubtedly, "a consideration of so general a nature would still necessarily reduce in the last analysis to a matter of opinion," Rochester Button Co., supra, at page 553, upon which we must exercise "common sense and judgment in the light of the proven facts." Ramsey Accessories Mfg. Corporation, supra, at page 489. We have found as a fact what percentages we believe should*248  be applied in reducing petitioner's net abnormal income in the determination of what part thereof arose out of its research and development, and what part arose out of other factors.  Cf.  Cohan v. Commissioner (CCA-2), 39 Fed. (2d) 540; Ramsey Accessories Mfg. Corporation, supra; and Lindstedt-Hoffman Co., supra.These ultimate findings, based upon a careful consideration of the whole record, decide the only controverted issue presented to us.Since respondent's sole contention is that petitioner's net abnormal income was attributable to the taxable years, rather than to prior years, because of the increased demand *249  in 1941 and 1942 for petitioner's products by the armed forces, and does not rely upon or mention any other factor (cf.  Ramsey Accessories Mfg. Corporation, supra), it is unnecessary to speculate upon the existence in the instant case of factors shown to be material in the Ramsey case.Decisions will be entered under Rule 50.  Footnotes*. The adhesion of the material to itself when folded.↩1. SEC. 721. ABNORMALITIES IN INCOME IN TAXABLE PERIOD.(a) Definitions.  -- For the purposes of this section --(1) Abnormal income.  -- The term "abnormal income" means income of any class includible in the gross income of the taxpayer for any taxable year under this subchapter if it is abnormal for the taxpayer to derive income of such class, or, if the taxpayer normally derives income of such class but the amount of such income of such class includible in the gross income of the taxable year is in excess of 125 per centum of the average amount of the gross income of the same class for the four previous taxable years * * *.(2) Separate classes of income.  -- Each of the following subparagraphs shall be held to describe a separate class of income:* * * *(C) Income resulting from exploration, discovery, prospecting, research, or development of tangible property, patents, formulae, or processes, or any combination of the foregoing, extending over a period of more than 12 months;* * * *(3) Net abnormal income.  -- The term "net abnormal income" means the amount of the abnormal income less, under regulations prescribed by the Commissioner with the approval of the Secretary, (A) 125 per centum of the average amount of the gross income of the same class determined under paragraph (1), and (B) an amount which bears the same ratio to the amount of any direct costs or expenses, deductible in determining the normal-tax net income of the taxable year, through the expenditure of which such abnormal income was in whole or in part derived as the excess of the amount of such abnormal income over 125 per centum of such average amount bears to the amount of such abnormal income.↩2. Section 721 (b) is to the following effect:(b) Amount Attributable to Other Years.  -- The amount of the net abnormal income that is attributable to any previous or future taxable year or years shall be determined under regulations prescribed by the Commissioner with the approval of the Secretary.  In the case of amounts otherwise attributable to future taxable years, if the taxpayer either transfers substantially all its properties or distributes any property in complete liquidation, then there shall be attributable to the first taxable year in which such transfer or distribution occurs (or if such year is previous to the taxable year in which the abnormal income is includible in gross income, to such latter taxable year) all amounts so attributable to future taxable years not included in the gross income of a previous taxable year.↩3. Respondent, upon brief, states: Counsel for the respondent stated the position of the respondent in his opening statement as follows:"Mr. Gallagher: The position of the Respondent can be very briefly stated, Your Honor."This so-called abnormal income resulted solely from an increase in business caused by large demands by the armed forces to which the bulk of these manufactured goods were delivered.* * * *"* * * it is respectfully submitted that the income realized by petitioner from the two products in question resulted solely from an increase in business due to the enlarged demands of the Armed Forces.* * * *"* * * petitioner has at no time faced up to the position of the respondent, namely, that the income in the taxable years in question arose solely from an increase in business caused by the demand of the Armed Forces * * *."↩4. Regulations 109, section 30.721-3, as amended by T. D. 5045, C. B. 1941-1, pages 69 et seq., provides in part:"Amount Attributable to Other Years.  -- The mere fact that an item includible in gross income is of a class abnormal either in kind or in amount does not result in the exclusion of any part of such item from excess profits net income.  It is necessary that the item be found attributable under these regulations in whole or in part to other taxable years.  Only that portion of the item which is found to be attributable to other years may be excluded from the gross income of the taxpayer for the year for which the excess profits tax is being computed.Items of net abnormal income are to be attributed to other years in the light of the events in which such items had their origin, and only in such amounts as are reasonable in the light of such events.  To the extent that any items of net abnormal income in the taxable year are the result of high prices, low operating costs, or increased physical volume of sales due to increased demand for or decreased competition in the type of product sold by the taxpayer, such items shall not be attributed to other taxable years.  Thus, no portion of an item is to be attributed to other years if such item is of a class of income which is in excess of 125 per cent of the average income of the same class for the four previous taxable years solely because of an improvement in business conditions.  In attributing items of net abnormal income to other years, particular attention must be paid to changes in those years in the factors which determined the amount of such income, such as changes in prices, amount of production, and demand for the product.  No portion of an item of net abnormal income is to be attributed to any previous year solely by reason of an investment by the taxpayer in assets, tangible or intangible, employed in or contributing to the production of such income."To the same effect, see Regulations 112, section 35.721-3, applicable to taxable years beginning after December 31, 1941.See also Regulations 109, section 30.721-8, and Regulations 112, section 35.721-7, which provide in part:"Exploration, Discovery, Prospecting, Research, or Development.  --"In general, an item of net abnormal income of the class described in this section is to be attributed to the taxable years during which expenditures were made for the particular exploration, discovery, prospecting, research, or development which resulted in such item being realized and in the proportion which the amount of such expenditures made during each such year bears to the total of such expenditures. Allocation of items of net abnormal income of the class described in this section must be made according to the principles set forth in section 35.721-3."↩5. Petitioner has selected as the class of abnormal income, income resulting from research and development of two products -- Pantex and C. C. Textasote -- extending over a period of more than 12 months, as defined in section 721 (a) (2) (C)↩.  It does not claim that such income is abnormal in type, but rather that it is abnormal in amount, i. e., that it is in excess of 125% of the average amount of the gross income of the same class for the four previous taxable years.6. In W. B. Knight Machinery Co., 6 T. C. 519, 534, we said in part:"But the mere fact that a taxpayer has net abnormal income in a taxable year does not entitle it to relief under section 721.  There must be a further finding under the evidence as to what part, if any, of such net abnormal income is attributable to other years.  If none is so attributable, then the taxpayer gets no relief.  * * *First, we know that no part of such income can be so attributed which was due solely to improvement in business conditions.  * * *"See also Premier Products Co., 2 T. C. 445↩; Rept. No. 146, 77th Cong., 1st sess., p. 9.7. The testimony of one of petitioner's vice presidents was, in part, as follows:"Q. Well, assuming we had not been in the War during 1941 and 1942, and that a normal peacetime market prevailed, what would you say was the extent of the demand of the market for the fabrics which could have been manufactured on those calenders?* * * *The Witness: Can I now ask a question?  Are you now speaking of all calenders, or are you speaking of this?* * * *By Mr. Tarleau:"Q. I'm talking about the thermoplastic resin."A. That, I think, is a very difficult question to answer.  I won't attempt to answer it other than to say this: That there was a demand, the demand was coming along very fast, but to tell you what the demand would be, I could not answer that.* * * *"Q. Can you express an opinion as to the volume of sales which the Pantasote Company might have developed with these various calender products that you mentioned as end products if they had been introduced in 1941 and 1942?* * * *"The Witness: That too is a very difficult answer.  * * *"By Mr. Tarleau:"Q. Well, assuming that there were other limitations or bottlenecks in the production, and that the dollar volume of production was not a million dollars but was limited to three hundred thousand dollars, do you think you could have sold three hundred thousand dollars worth of the product?"A. I think that would have been a very simple thing for any one man to do."↩8. Cf.  Soabar Co., supra, pp. 96 and 97↩.9. "'Solely' leaves no leeway." Helvering v. Southwestern Consolidated Corporation, 315 U.S. 194"&gt;315 U.S. 194, 198↩.10. What Judge Learned Hand said in a wholly different connection is appropriate here: "The one sure way to do injustice in such cases is to allow nothing whatever upon the excuse that we cannot tell how much to allow." Commissioner v. Maresi↩ (CCA-2), 156 Fed. (2d) 929, 931.